                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

 JAMES KNIGHT, JASON MAYES,                       )
                                                  )
         Plaintiffs,                              )
                                                  )
v.                                                ) Case No. 3:20-cv-00922
                                                  ) Judge Trauger
THE METROPOLITAN GOVERNMENT                       ) Magistrate Judge Holmes
OF NASHVILLE AND DAVIDSON                         )
COUNTY,                                           )
                                                  )
 Defendant.                                       )


                           NOTICE OF SUPPLEMENTAL AUTHORITY


       Plaintiffs respectfully submit the recently released opinion of F.P. Dev., LLC, v. Charter

Township of Canton, -- F.3d – Nos. 20-1447/1466 (6th Cir. Oct. 13, 2021) (slip op. attached) as

supplemental authority. In Canton, the Sixth Circuit ruled that conditioning a tree removal permit on

property owners planting new trees or paying an in-lieu fee was an unconstitutional exaction, even

though the condition was imposed by legislation. Slip op. at 6. Canton is relevant for two reasons.

       First, Metro argued on October 11, 2021 that “the Sixth Circuit has never applied the

[unconstitutional conditions] doctrine to a legislative exaction in the takings context.” (Doc. 35 at 3.)

On October 13, 2021, the Sixth Circuit applied the unconstitutional conditions doctrine to a

legislative exaction in the takings context, in a published decision. See Canton, slip op. at 12

(“Canton’s Tree Ordinance, as applied to F.P., fails rough proportionality and is thus an

unconstitutional condition under Nollan, Dolan, and Koontz.”).

       Metro is correct (Doc. 38) that the court did not address the “interesting question” of whether

the tree ordinance fell “into the category of government action covered by Nollan, Dolan, and
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Koontz,” but only because the parties did not raise it. Slip op. at 9. It remains the case that court

applied the unconstitutional conditions doctrine to a condition imposed by legislation, and Metro has

failed to show an instance where any court in the Sixth Circuit accepted its misguided understanding

of the law. The fact that neither party raised the distinction throughout the course of litigation

underscores the fact that the so-called distinction is not all that Metro makes it out to be.

       Second, Metro contends that it has met the requirement of rough proportionality required by

the Supreme Court in Dolan. (Doc. 26 at 7-15.) Canton demonstrates that Metro has not met the

requisite showing of an individualized determination. Slip op. at 10 (“But Dolan requires more.”)

The court’s explanation of how the city of Canton failed to show proportionality is directly applicable

to Metro’s argument that its rejection of Plaintiffs’ request to vary from the sidewalk condition

satisfies Dolan:

       Canton has pointed to nothing indicating, for example, that F.P.’s tree removal
       effects a certain level of environmental degradation on the surrounding area. Nor
       does it demonstrate whether it considered that F.P.’s clearing of the clogged ditch
       on its property or its removal of dead trees may have improved the surrounding
       environment. …

       That a representative from Canton went to F.P.’s property to count and categorize
       the trees F.P. cut down does not alter our conclusion. And the “individualized
       assessment” that Canton points to in the ordinance relates to the initial review of a
       permit application, not to the proportionality of the mitigation requirements. See
       Canton Code of Ordinances Art. § 5A.05(F). According to Canton’s own
       representative, F.P.’s removal of regulated trees triggers the mitigation
       requirements, regardless of the specific impact caused by their removal. Canton has
       not made the necessary individualized determination here.

Slip op. at 10-11.

Dated: October 20, 2021.                                       Respectfully submitted,


                                                                s/ B. H. Boucek
                                                               BRADEN H. BOUCEK
                                                               TN BPR No. 021399
                                                               GA Bar No. 396831
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